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Case 2:18-cv-OO456-RFB-VCF Dooument 1 Filed 03/13/18 Page 1 of 45

PET

JAMES W. HOWARD, ESQ.
Nevada Bar No. 4636

THE HOWARD LAW FIRM
9030 W. Cheyenne Avenue, #210
Las Vegas, Nevada 89129

Tel: 702-293-4600

Fax: 702-993-4009

Attorneys for Defendant
ihoward@howardlawlv.com

UNITED STATES, DISTRICT COURT

DISTRICT OF NEVADA
BRENDA MONARREZ, an Individual, Case No.
Plaintiff,
vs.
PETITION FOR REMOVAL

 

PROGRESSIVE DIRECT INSURANCE

COMPANY, an Ohio insurance company;
DOES I through X; and ROE BUSINESS
ENTITIES XI through XX, inclusive,

Defendants.

 

 

Defendant, PROGRESSIVE DIRECT INSURANCE COMPANY, removes this action from the
Eighth Judicial District Court, Clark County, Nevada, Case No. A-l7-764850-C to the United States
District Court, District of Nevada, pursuant to 28 U.S.C. §§1332 and 1441.

This matter is proper for removal pursuant to U.S.C. §1441because the United States District
Court, District of Nevada, now has jurisdiction pursuant to U.S.C. §1332 as folloWs:

1 . This matter is a claim for damages for breach of uninsured motorist insurance contract, tortious
breach of the convenant of good faith and fair dealing (bad faith), violation of unfair claims practices act,
and unjust enrichment The Complaint requests compensatory damages, special damages, exemplary and
punitive damages, and reasonable attorney’s fees.

2. On November 16, 2017, Plaintiff BRENDA MONARREZ filed her Complaint against
PROGRESSIVE DIRECT INSURANCE COMPANY in the Eighth Judicial District Court, Clarl<
County, Nevada, Case No.: A-l7-76485()-C (Exhibit A). The Complaint alleges that Plaintiff was

injured as the result of a rear end car accident, and she incurred nine-thousand seven hundred dollars in

 

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Case 2:18-cv-OO456-RFB-VCF Dooument 1 Filed 03/13/18 Page 2 of 45

medical bills. The other driver’s insurance paid Plaintiff its’ '$15,000 policy limits of available
automobile coverage, and Plaintiff made a claim for underinsured motorist benefits pursuant to her policy
of insurance with Defendant In response, Defendant offered to settle with Plaintiff for $500, and
Plaintiff alleges that Defendant had no reasonable basis for offering such a low settlement amount.
(Exhibit A).

3. On December 18, 2017, Defendant PROGRESSIVE DIRECT INSURANCE COMPANY
filed it’s Answer to Plaintiff’ s Complaint (Exhibit B).

4. The Complaint seeks general damages in excess of $10,000 (Exhibit A).

5. As a result of the accident, Plaintiff BRENDA MONARREZ is claiming damages for breach
of insurance contract, bad faith, violation of unfair claims practices act, unjust enrichment and is asking
for compensatory and punitive damages (Exhibit A, 111[ 37, 46, 51, 54 and 65) in addition to attorney’s
fees.

6. Defendant PROGRESSIVE DIRECT INSURANCE COMPANY removes this case based
upon diversity of jurisdiction pursuant to 28 U.S.C. §1332

a) Diversi§g of Citizenship: There is diversity of citizenship in that, pursuant to 28
U.S.C. §1332(a), the citizenship of each plaintiff is diverse from the citizenship
of each Defendant. Caterpillar v. Lewis, 519 U.S. 61, 68, ll7 S.Ct. 467, 472
(l 996).

l) At the time of the filing of the Complaint, Plaintiff BRENDA
MONARREZ was a resident of Clark County, Nevada.

2) PROGRESSIVE DIRECT INSURANCE COMPANY is a corporation
with its principal place of business in Ohio.

b) Amount in Controversv Exceeds $75.000. In her Complaint, Plaintiff claims
general damages in excess of $l0,000. Pursuant to N.R.C.P. 8(a), when a
claimant seeks damages in excess of $ l 0,0()0, the claimant only needs to demand
damages as such without any specification of the amount.

Thus when the amount in controversy is not set forth in the Complaint, the
removal petition can be considered in determining such amount. Singer v. Staz‘e

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Case 2:18-cv-OO456-RFB-VCF Dooument 1 Filed 03/13/18 Page 3 of 45

Farm Mutual Auto Ins. Co., 116 F.3d 373, 377 (9th Cir. 1997). The amount of
controversy is established if, by a preponderance of evidence, the removing party
can establish the amount in controversy is above $75,000. Valdez v. Allstate Ins.
Co., 372 F.3d 1115,1117 (9“‘ Cir. 2004). The type of evidence defendants may
rely upon to satisfy the preponderance of evidence threshold includes facts
presented in the removal petition as well as relevant “summary-judgment-type
evidence”. Ia’, quoting Matheson v. Progressive Specialily Ins. Co.; 319 F3d
1089, 1090 (9th Cir. 2003).

To date, Plaintiff is claiming she incurred total medical bills $9,764.21
(Exhibit C, Plaintiff’ s Petition for Exemption from Arbitration). Plaintiff filed
this Petition for Exemption from Arbitration on February 22, 2018, and it was at
that time that Defendant first learned that Plaintiff contended that the case
exceeded the $50,000 value to take the case out of the state court’s mandatory
Arbitration program. Accordingly, the amount in controversy is above the
jurisdictional threshold.

7. This Notice is timely submitted pursuant to 28 U.S.C. §1446(b) as it is filed before one year
after commencement of this action. lt should be noted that part of this action is a consolidated claim of
a Justice Court lawsuit that was filed on February 27, 2017, that involved the breach of contract claim
and claim for special damages and declaratory relief. (Exhibit D). That lawsuit was consolidated with
the instant lawsuit by Order of the Court on January 24, 2018, but the Justice Court lawsuit, even though
filed over a year ago, was jurisdictionally limited to a maximum recovery of 315,000, and it did not
request punitive damages or make allegations that Defendant was in bad faith.

8. Pursuant to 28 U.S.C. §1446(a), the following documents from the state court action, Eighth
Judicial District Court, Clark County, Nevada, Case No. A-17-764850-C are attached:

1) Plaintiff’ s Complaint (Exhibit A);

2) Defendant’s Answer (Exhibit B).

3) Plaintiff"s Petition for Exemption from Arbitration (Exhibit C).
4) Notice of Entry of Order re Motion to Consolidate (Exhibit E).

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Case 2:18-cv-OO456-RFB-VCF Dooument 1 Filed 03/13/18 Page 4 of 45

9. Pursuant to 28 U.S.C. §1446(d), this Notice is being served upon Plaintiff BRENDA
MONARREZ and Plaintiff` s counsel. A copy is also being filed with the clerk of the court for the Eighth
J udicial District Court, Clark County, Nevada.

DATED this 1 day of '\`"\OVC\/’\ , 2018.

THE HOWARD 15AW FIRM

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By ` a g
JAMES W HOWARD, ESQ.
Nevada Bar No. 4636

9030 W. Cheyenne Avenue, #210
Las Vegas, Nevada 89129
Attorneys for Defendant

 

CERTIFICATE OF SERVICE
1 hereby certify that service of a true and correct copy of Petition for Removal was made on the

13 day Of Mar¢h, 2018, as indicated below

By first class mail, postage prepaid from Las Vegas, Nevada pursuant to N. R. C. P. 5(b)
addressed as follows below

_; By facsimile, pursuant to EDCR 7.26 (as amended)

__ By receipt of copy as indicated below

§ Via Court authorized electronic service

Al Lasso, Esq.

10161 Park Run Drive, #105
Las Vegas, NV 89145
facsimile.' 702-835-698]
Attomey for Plaintiff

KD-`W

An Employee of THE HOWARD LAW FIRM

 

 

Case 2:18-cv-OO456-RFB-VCF Dooument 1 Filed 03/13/18 Page 5 of 45

Exhibit A

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Case 2:18-cv-OO456-RFB-VCF Dooument 1 Filed 03/13/18 Page 6 of 45

ACOM
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Attorneysfor Plainti]j’
DISTRICT COURT

CLARK COUNTY, NEVADA
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BRENDA MONARREZ, an Individual;

Plaintiff, DEPT NO.:
v

PROGRESSIVE DIRECT INSURANCE

COMPANY, an Ohio insurance company;
DOES 1 through X; and ROE BUSINESS
ENTITIES XI through XX, inclusive,

Defendants.

 

 

COMPLAINT
COMES NOW, Plaintiff,, BRENDA MONARREZ, by and through her counsel of recorc
Al Lasso, Esq. and Evan K. Simonsen, Esq., of LASSO 1NJURY LAW, LLC, for her causes o
actions against Defendant, PROGRESSIVE DIRECT INSURANCE COMPANY; DOES lthroug
X; and ROE BUSINESS ENTITIES XI through XX, and alleges as follows:
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lase 2:18-cv-OO456-RFB-VCF Dooument 1 Filed 03/13/18 Page 7 of 45

\’ ‘ / JURISDICTION
y<"`/1|/ At all times relevant hereto, Plaintiff BRENDA MONARREZ (hereinafter

“Brenda’)’ or “Plaintiff”), was and is a resident of the County of Clark, State of Nevada.

f ,/ 2. At all times relevant hereto, Plaintiff believes that Defendant PROGRESSIVE
ISIRECT INSURANCE (hereinafter “Progressive” or “Defendant”) was and is an Ohio insurance
company doing business and providing insurance in the State of Nevada, County of Clark.

3. The true names and capacities, whether individual, corporate, associate, or

otherwise of Defendants DOES I through X and/or ROE BUSINESS ENTITIES Xl through XX,
inclusive, are unknown to Plaintiff who, therefore, sues said Defendants by such fictitious names.
The Plaintiff is informed and believes and thereupon alleges that Defendant designated herein as
a DOES and/or ROES are any one of the following:

a) A party responsible in some manner for the events and happenings herein referred
to, and in some manner caused the injuries and damages proximately thereby to the
Plaintiffs as herein alleged;

b) Parties that were the agents, servants, employees, and contractors of the
Defendants, and each of them, acting within the course and scope of their agency,
employment, or contract;

c) Parties that owned, leased, managed, operated, secured, inspected, repaired,
maintained, entrusted and/or were responsible for Defendant’s vehicle at the time
of this incident;

d) Parties that were responsible for the supervision of one or more of the Defendant
herein; and

e) Parties that have assumed or retained the liabilities of any of the Defendant’s
vehicle by virtue of an agreement, sale, transfer or otherwise. The Plaintiff
specifically complains and alleges causes of action against these parties. However,
as of the filing of this Complaint, Plaintiff is not sure as to whether those entities
are individuals, a partnership, a limited partnership, a Corporation, an association

of individuals and business, co-ventures, or some other form of business ownership.

 

 

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flase 2:18-cv-OO456-RFB-VCF Dooument 1 Filed 03/13/18 Page 8 of 45

When the same have been ascertained by Plaintiff, together with the appropriate
charging allegations, Plaintiff will ask leave of this Court to amend this Complaint
to insert the true names and capacities of said Defendant, DOES I through X, and/or
ROE BUSINESS ENTITIES XI through XX, inclusive and join such Defendant in
this action.

'4.` That the true names or capacities of Defendants, ROE BUSINESS ENTITIES l
through X, inclusive, are unknown to Plaintiff who, therefore, sues said Defendants by such
fictitious names. Defendants designated herein as ROE BUSINESS ENTITIES 1 through X, and
each of them, are predecessors-in-interest, successors-in-interest, and/or agencies otherwise in a
joint venture with, and/or serving as an alter ego of, any and/or all Defendants named herein;
and/or are entities responsible for the supervision of the individually named Defendants at the time
of the events and circumstances alleged herein; and/or are entities employed by and/or otherwise
directing the individual Defendants in the scope and course of their responsibilities at the time of
the events and circumstances alleged herein; and/or are entities otherwise contributing in any way
to the acts complained of and the damages alleged to have been suffered by the Plaintiff herein.
Plaintiff is informed and, on that basis believes and thereon alleges, that each of the Defendants
designated as a ROE BUSINESS ENTITY is in some manner negligently, vicariously, and/or
statutorily responsible for the events and happenings referred to and caused damages to Plaintiff _
as herein alleged.` Plaintiff will seek leave of the Court to amend this Complaint to insert the true
names of such Defendants when the same have been ascertained

_ 1 , 5. At all times material to this Complaint, the acts and omissions giving rise to this
action occurred in Clark County, Nevada.
) 6. That the resulting impact caused Plaintiff to suffer serious, physical, emotional, and
financial injury, as more fully set forth herein.
GENERAL FACTUAL ALLEGATIONS
l"`7. The Plaintiff repeats and realleges the allegations as contained in the preceding

paragraphs herein, and incorporates the same herein by reference.

 

 

 

§;§125.

LASSO INJURY LAW

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iEase 2:18-cv-OO456-RFB-VCF Dooument 1 Filed 03/13/18 Page 9 of 45

8. Plaintiff Brenda Monarrez, paid for underinsured motorist coverage with her
automobile insurer, Defendant Progressive Direct Insurance Company (hereinafter “Defendant”
or “Progressive”).

_, n 9. All required premium payments due under said policy were paid and there was a
binding contract of insurance in full force providing coverage for Plaintiff on March 15, 2016.
s =~ 171 On or about March 15, 2016, Brenda was involved in an automobile crash while
operating her 2015 Toyota Rav4 with Nevada license number 195ZAV, which occurred on
Mountain Vista Street.

v \/ l 1. On said date and at said time, Brenda was travelling north on Mountain Vista Street,
and was stopped behind traffic due to a white pickup truck making a right turn into a private drive
when suddenly and without warning, Ms. Jessica Marie Fein, who was driving a 2004 Hyundai
Elantra, did not decrease her speed as she approached the stopped vehicles and collided with the

rear of Brenda’s vehicle.

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' 12. Upon a field investigation, Ms. Fein left approximately fifty-five feet (55’) of
visible, pre-impact, skid.
' 13. That Ms. Fein was cited for following too close by the investigating officer.
, 14. The sole and proximate cause of said collision was the negligence and carelessness
of '\/Ts. Fein.

, 15. Said collision caused the Plaintiff to be injured in her health, strength, and well-
being and to sustain severe and permanent injury to her body and shock and injury to her nervous
system and person, all of which have caused the Plaintiff, and will continue to cause the Plaintiff
in the future, severe mental, physical, and nervous pain and suffering

16. As a further proximate result of said collision, the Plaintiff was required to, and
did, employ physicians, and other health care providers to examine, treat, and care for her and did
incur medical and incidental expenses thereby.

17. That prior to the injuries complained of herein, Plaintiff was able-bodied, readily
and gainfully employed and physically capable of engaging in all other activities for which she

was otherwise suited.

 

 

 

Case 2:18-cv-OO456-RFB-VCF Dooument 1 Filed 03/13/18 Page 10 of 45

     

1 i 18. As a result of the collision, Brenda suffered personal injuries with medical bills
2 totaling over nine-thousand seven-hundred dollars ($9,700).
3 19. The other driver carried a minimum insurance policy of fifteen-thousand dollars
4 ($15,000.00), and paid the policy limit to Brenda. n
5 20. En or abf)ut February 6, 2017, Brenda made a claim with Progressive for the policy
6 limits of her underinsured motorist benefits, fifteen-thousand dollars ($15,000.00). Attached to
7 Plaintiff’s demand requesting that Progressive pay the UIM policy limits, were the medical records
8 and billin owing the severity of Plaintiff’s injuries:l
9 l 21. On or about February 13, 2017, Progressive rejected Brenda’s offer to settle her
10 underinsured motorist claim and made a counter offer of five-hundred dollars ($500).
m 11 _~ 22. Progressive has no reasonable basis for offering such a low settlement amount.
§ § § 12 - 23. On or about February 24, 2017, Brenda filed a lawsuit against Progressive for
§ §§§ 13 breach of the underinsured motorist coverage.
a § § §§ 14 ` 24. On or about September 6, 2017, Progressive produced documentation as part of
6 § § §§ 15 their Amended Responses to Plaintiff’s Requests for Production, which indicated that Progressive
§ § §§ 16 had raised the reserve for Brenda’s claim to five-thousand dollars ($5,000.00).
§§ c 17 f ` 25 . Defendant Progressive breached its contract with Plaintiff by choosing not to pay

 

18 the benefits under Plaintiff`s underinsured motorist policy.
19 26 . Upon information and belief, Progressive intentionally attempted to settle Brenda’s
20 underinsured motorist claim in bad faith, offering ten percent (10%) of the value of her claim.
21 27. Progressive has refused to pay the full and proper value of Plaintiff’s valid
22 underinsured motorist claim.
23 . 28. Plaintiff"s underinsured motorist claim is a loss covered by the Progressive policy.

t`~ 24 ,29. Progressive has all the knowledge to support payment of Plaintiff’s claim and with
25 no reasonable basis continues to refuse to pay the full and proper value of the claim.

~; 26 _ 30. Defendant Progressive has a duty to evaluate and value Plaintiff"s claim and

27 compensate her for her damages. ~

 

 

 

chase 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 11 of 45

 

    
   

1 31. Defendant Progressive has failed to timely make an adequate payment to Plaintiff,
2 as was required by the subject Policy.
3 32. Defendant Progressive’s refusal to pay the full and proper value of Plaintiff’ s claim
4 Was made without a reasonable basis in fact or law.
5 33. Defendant Progressive’s failure to pay any undisputed amounts was made in bad
6 faith and for the purpose of denying the benefits of contract for uninsured/underinsured motorist
7 coverate to Plaintiff. j/ '5 Q"
8 FIRST CAUSE OF ACTION
9 / ~ f 4 (Breach of Contract)
10 ‘\ ‘ 34. Plaintiff repeats and realleges each and every fact set forth in the preceding
_ 11 paragraphs, as though set forth fully herein.
§ § § 12 ' 35 . At all times relevant herein, Plaintiff and Defendant were parties to a valid and
§§:§§ 13 enforceable contract whereby Plaintiff had paid premiums in exchange for benefits under an
§ §;§;.‘j 14 uninsured motorist insurance policy.
iii § § §§ 15 36. Defendant has refused, and continues to refuse to pay sums legally due and owing
§ j § §§ 16 to Plaintiff pursuant to the terms of the subject insurance policy.
§§ 5 17 vi 37. The Defendant’s choice to not pay the sums legally due and owing to Plaintiff

 

18 pursuant to the terms of the subject insurance policy is a material breach of the said insurance
01 9 pol icy.

20 ' 38. As a direct and proximate result of the breach of contract, Plaintiff has suffered
21 general damages, in an amount in excess of ten-thousand dollars ($10,000.00), and special or
22 consequential damages, which would be foreseeable to a reasonable person in the insurer’s
23 position, in an amount to be proven at the time of trial, together with prejudgment interest at the
24 rate allowed by law.

25 ' 39. lt has been necessary for Plaintiff to retain the services of attorneys to pursue this

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26 claim and Plaintiff is entitled to recover reasonable attorneys’ fees therefor.
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SECOND CAUSE OF ACTION
(Tortious Breach of the Covenant of Good Faith and Fair Dealing - Bad Faith)
` ‘\40. Plaintiff repeats and realleges the allegations as contained in the preceding
paragraphs herein, and incorporates the same herein by reference.

41. Nevada law recognizes an implied covenant of good faith and fair dealing in every
connact. Particularly, Nevada law recognizes the duty of insurers to act in good faith when dealing
With their insureds.

42. Plaintiff and Defendant were bound by a contractual relationship pursuant to the
Policy.

l ' 43. Plaintiff and Defendant Were part of a special relationship of reliance, with
Defendant being in the superior and entrusted position of an insurer,

l ' 44. The express and implied promises made in connection with that relationship, and
the acts, conduct, and communication resulting in these implied promises, obligated Progressive
to act in good faith toward and to deal fairly with Plaintiff.

l 45. Defendant Progressive further owed a duty to the Plaintiff to ensure it did not
imp'air the Plaintist right to receive benefits of the above described policy of insurance.

46. Defendant breached the implied covenant of good faith and fair dealing during the
underlying breach of contract case when it failed to_deal fairly and in good faith with Brenda and
refused to pay the proper value of her claim.

47. Defendant’s refusal to pay the full and proper value of Brenda’s claim was
unreasonable and done so with the knowledge that Defendant had no reasonable basis for its
cc”duct.

48. The failure of Progressive, to exercise good faith and fair dealing has resulted in
substantial delay in receipt of benefits to which Plaintiff is entitled.

49. Defendant also violated several provisions of the Unfair Claims Practices Act
during the breach of contract case, and these violations were unreasonable and done so With

knowledge that Defendant had no reasonable basis for its conduct.

 

 

 

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Case 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 13 of 45

50. As a direct and proximate result of the Defendant’s bad faith refusal to settle
Brenda’s underinsured motorist claim for its full and proper value, Plaintiff sustained damages,
both general and special, in excess of ten-thousand dollars ($l0,000.00).

51. Defendant refused to settle Brenda’s underinsured motorist claim for its full and
proper value with a conscious disregard for the rights of Plaintiff, subjecting her to unjust hardship.
Plaintiff thereby requests punitive damages pursuant to common law and NRS 42.005 for the
oppression, fraud and/or malice, express or implied, in Defendant’s bad faith conduct related to
Plaintiff’s underinsured motorist claim.

52. The actions of Defendant has forced Plaintiff to retain counsel to represent her in
the prosecution of this action, and she is therefore entitled to an award of a reasonable amount as
attorney fees and costs of suit. \l 0 / g z

THIRD CAUSE OF ACTION
§ (Violation of Unfair Claims Practices Act)
_ / ' 4 53. Plaintiff repeats and realleges the allegations as contained in the preceding
paragraphs herein, and incorporates the same herein by reference.

54. Defendant’s actions were in violation of provisions of the Unfair Claims Practices
Act, codified as NRS 686A.310 et seq., specifically sections (e), (f), and (g), and these violations
were done With Defendant’s actual or implied knowledge

55. Defendant Progressive failed to effectuate a prompt, fair and equitable settlement
of claims in Which its liability had become reasonably clear, as prohibited by NRS §
686A.310(l)(e).

` 56. Progressive compelled Plaintiff to institute litigation to recover amounts due under
the Policy, as prohibited by NRS 686A.310(f).

57. Progressive attempted to settle the claim for less than the amount of which a
reasonable person would have believed he was entitled by reference to written or printed
advertising material accompanying or made part of an application, in violation of NRS §

686A.310(1)(g).

 

 

 

   
 

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iiase 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 14 of 45

58. The actions of Progressive as described herein, constitute a Breach of the Covenant
of Good Faith and Fair Dealing With Plaintiff.

n , 59. As a direct and proximate result of the Defendant’s bad faith denial and dispute of
underinsured motorist coverage, Plaintiff sustained damages, both general and special, in excess
of ten-thousand dollars ($10,000.00).

' ‘ 60. Defendant violated NRS 686A.310 with a conscious disregard for the rights of
Plaintiff, subjecting her to unjust hardship. Plaintiff thereby requests punitive damages pursuant
to common law and NRS 42,005 for the oppression, fraud and/or malice, express or implied, in
Defendant’s bad faith denial of Plaintiff’s underinsured motorist claim.

51. The actions of Defendants have forced Plaintiff to retain counsel to represent her

in the prosecution of this action, and she is therefore entitled to an award of a reasonable amount

 

as attorney fees and costs. § '5""`
FOURTH CAUSE OF ACTION
` §Unjust Enrichment)
(. _ " F`

1 \\'62. Plaintiff repeats and realleges each and every allegation set forth in the preceding

paragraphs, as if fully set forth herein.

'_ '3. Pursuant to the contractual arrangement between the parties, Progressive Was
obllgated to pay Plaintiff for damages received as a result of any collision with and underinsured
motorist.

64. Retaining amounts it was required to pay pursuant to the contractual agreement
has unjustly enriched Defendant Progressive.

65. The actions of Progressive, as described herein, constitute unjust enrichment at
the Plaintiff’s expense.

66. Defendant violated NRS 686A.3 l 0 With a conscious disregard for the rights of
Plaintiff, subjecting her to unjust hardship.

67. As a direct and proximate result of the Defendant’s bad faith denial and dispute of
underinsured motorist coverage, Plaintiff sustained damages, both general and special, in excess

of ten-thousand dollars ($10,000.00).

 

 

 

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Case 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 15 of 45

68. The actions of Defendants have forced Plaintiff to retain counsel to represent her
in the prosecution of this action, and she is therefore entitled to an award of a reasonable amount
as attorney fees and costs. (/}“Q:§

FIFTH CAUSE OF ACTION
'\ \ (Special Damages) v
w \ ‘69. Plaintiff repeats and realleges each and every allegation set forth in the preceding
paragraphs, as if fully set forth herein.
j 70. Plaintiff has and will have to incur attorney fees to enforce her rights as a result of
the conduct of the Defendant indicated in the First, Second, Third, and Fourth Claims for Relief.

7l. The attorneys’ fees that Plaintiff has and Will incur are foreseeable damages arising
from the conduct set forth in the First, Second, Third, and Fourth Claims for Relief.

` 72. The attorneys’ fees that Plaintiff has and will incur are the natural and proximate
consequence of the conduct referred to above and in the First, Second, Third, and Fourth Claims
for Relief.

SIXTH CAUSE OF ACTION
(Declaratory Relief)
, `73. Plaintiff repeats and realleges each and every allegation set forth in the preceding
paragraphs, as if fully set forth herein.
" 774. An actual controversy has arisen amongst the parties with respect to the allegations
set form above.

~'75. Plaintiff seeks declaratory relief from the Court with respect to the rights and
obligations of the parties, to the extent said rights and obligations are not fully governed by the
claims for relief set forth above.

WHEREFORE, Plaintiff, BRENDA MONARREZ, expressly reserving her right to amend
her Complaint at the time of trial, to include all items of damage not yet ascertained, demands
judgment against Defendants, PROGRESSIVE DIRECT INSURANCE COMPANY; DOES l
through X; and ROE BUSINESS ENTITIES XI through XX, inclusive and each of the defendants

as follows:

_10_

 

 

 

    
 

  

 

       

 

Case 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 16 of 45
1 l. For Plaintiff, general damages, in an amount in excess of ten-thousand dollars
2 ($10,000.00), to be set forth and proven at the time of trial;
3 2. For Plaintiff, special damages in an amount in excess of ten-thousand dollars
4 ($10,000.00), to be set forth and proven at the time of trial;
5 3. For Plaintiff, exemplary and punitive damages;
6 4. For Plaintiff, reasonable attorney’s fees;
7 5. For Plaintiff, cost of suit incurred; pre-judgment interest incurred; and post-
8 judgment interest incurred; and
9 6. For Plaintiff, such other and further relief as to the Court seemsjust and proper.
10 DATED this __ day of November 2017.
_ 11 LASSO INJURY LAW, LLC
§ § §§§ 13 AL LAsso, ESQ.
ii §‘:§§ 14 §§v/:ltc\iial§a§ii\]/i)o;ls$§l\l ESQ
§§ Z § z l . , .
§‘ 5 § gregg 15 Nevada Bar No. 13762
§ § §§ lOl6l Park Run Drive, Suite 150
§ §§ § 16 Las vegas, Nevada 89145
" § 17 Attorneysfor Plainti]j‘
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10161 Park Run Drive, Suite 150

Las Vegas, Nevada 89145
(702) 625-8777 - Fax: (702) 835-6981

 

  

  

 

DATED this day ofNovember, 2017.

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`§ase 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 17 of 45

DEMAND FOR JURY TRIAL

Plaintiff hereby demands ajury trial as a matter of right.

LASSO INJURY LAW, LLC

 

AL LASSO, ESQ.

Nevada Bar No. 8152

EVAN K. SIMONSEN, ESQ.
Nevada Bar No. 13762

10161 Park Run Drive, Suite 150
Las Vegas, Nevada 89145
Attorneys for Plainti]f

 

Case 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 18 of 45

Exhibit B

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Case 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 19 of 45

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JAMES W. HOWARD, ESQ.
Nevada Bar No 4636

THE HOWARD LAW FIRM
9030 W. Cheyenne Avenue, #210
Las Vegas, Nevada 89129
Te1:702-293-4600

Fax: 702-993-4009

Attorneys for Defendant

]`howard@howardlawlv.com

DISTRICT COURT
CLARK COUNTY, NEVADA
BRENDA MONARREZ, an Individual, Case No. A-17-764850-C
Dept. No. X
Plaintiff,
VS.
ANSWER TO COMPLAINT

 

PROGRESSIVE DIRECT INSURANCE
COMPANY, an Ohio lnsurance company;
DOES I through X; and ROE BUSINESS
ENTITIES XI through XX, inclusive,

Defendants.

 

 

- COMES NOW Defendant, PROGRESSIVE DIRECT INSURANCE COMPANY, by and through
its’ attorney, JAMES W. HOWARD, ESQ., of THE HOWARD LAW FIRM, and answering Plaintiff’s
Complaint on tile herein, admits, denies, and alleges as follows:

Defendant denies each and every paragraph contained Within the Plaintiffs Complaint on file
herein, save and except for those matters that are expressly addressed hereinafter
MQ_T_I_QB
I.
Answering Paragraphs 1, 3, 4, 5 and 6, Defendant is without sufficient knowledge or information
to form a belief as to the truth or falsity of the allegations contained therein and, therefore, denies salne.
II.

Answering Paragraph 2, Defendant admits each and every allegation contained therein.

Case Number: A-17-764850-C

 

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Case 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 20 of 45

GENERAL FACTUAL ALLEGATIONS
III.

This Answering Defendant repeats, realleges and incorporates herein by reference its’ answers

to Paragraphs 1-6 of the Jurisdiction as though fully set forth herein.
- IV.

Answering Paragraphs 8, 9, 19, 21, 23, 24, 28, 29 and 30, Defendant admits each and every
allegation contained therein.

V.

Answering Paragraphs 10, 11, 12, 13, 14, 17 and 18, Defendant is without sufficient knowledge
or information to form a belief as to the truth or falsity of the allegations contained therein and, therefore,
denies same.

VI'.

Answering Paragraph 20, Defendant admits each and every allegation contained in, “On or about
February 6, 2017, Brenda made a claim with Progressive for the policy limits of her underinsured
motorist benefits, j?j?een-thousand dollars ($15, 000. 00). Attached to Plainti]j"s demand requesting that
Progressive pay the UIM policy limits, were the medical records and billing... ”

As for the remainder of Paragraph 20, Defendant denies each and every allegation contained
therein.

VII.

Answering Paragraphs 15,` 16, 22, 25, 26, 27, 29, 31, 32 and 33, Defendant denies each and every
allegation contained therein.

FIRST CAUSE`OF ACTION
VIII.

This Answering Defendant repeats, realleges and incorporates herein by reference its’ answers

to Paragraphs 7-38 of the General F actual Allegations as though fully set forth herein.
IX.

Answering Paragraph 35, Defendant admits each and every allegation contained therein.

 

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Case 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 21 of 45

X.
Answering Paragraphs 36, 37, 3 8 and 39, Defendant denies each and every allegation contained
therein.
SECOND CAUSE OF ACTION
XI.
This Answering Defendant repeats, realleges and incorporates herein by reference its’ answers
to Paragraphs 34-39 of the First Cause of Action as though fully set forth herein.
XII.
Answering Paragraphs 41, 42, 43, 44 and 45, Defendant admits each and every allegation
contained therein.
Xlll.
Answering Paragraphs 46, 47, 48, 49, 50, 51 and 52, Defendant denies each and every allegation
contained therein.
THIRD CAUSE OF ACTION
XIV.
This Answering Defendant repeats, realleges and incorporates herein by reference its’ answers
to Paragraphs 40-52 of the Second Cause of Action as though fully set forth herein.
XV.
Answering Paragraphs 54, 55, 56, 57, 58, 59, 60 and 61, Defendant denies each and every
allegation contained therein.

FOURTH CAUSE OF ACTION

 

XVI.
b This Answering Defendant repeats, realleges and incorporates herein by reference its’ answers
to Paragraphs 53-61 of the Third Cause of Action as though fully set forth herein.
XVII.
Answering Paragraph 63, Defendant is without sufficient knowledge or information to form a

belief as to the truth or falsity of the allegations contained therein and, therefore, denies same.

 

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Case 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 22 of 45

XVIII.
Answering Paragraphs 64, 65, 66, 67 and 68, Defendant denies each and every allegation
contained therein. l
FIFTH CAUSE OF ACTION
XIX.

 

This Answering Defendant repeats, realleges and incorporates herein by reference its’ answers
to Paragraphs 62-68 of the Fourth Cause of Action as though fully set forth herein.
XX.
Answering Paragraphs 70, 71 and 72, Defendant denies each and every allegation contained
therein.
sIXTH cAUsE oF AcTIoN
XXI.

 

This Answering Defendant repeats, realleges and incorporates herein by reference its’ answers
to Paragraphs 69-72 of the Fifth Cause of Action as though fully set forth herein.
XXII.
Answering Paragraphs 74 and 75, Defendant denies each and every allegation contained therein.

AFFIRMATIVE DEFENSES

 

FIRST AFFIRMATIVE DEFENSE

 

The Complaint fails to state a claim upon which relief can be granted.

SECOND AFFIRMATIVE DEFENSE

 

The incidents referred to in the Complaint, and any and all damages resulting therefrom, Were
proximately caused in whole or in part, or were contributed to by the negligence or other conduct of the
Plaintiff, which negligence or other conduct causally contributed to the incidents referred to in the
Complaint and any damages resulting therefrom, in greater degree than any conduct or negligence, which
is specifically denied, of this answering Defendant

THIRD AFFIRMATIVE DEFENSE

 

The Plaintiff has failed to mitigate damages, if any, and to the extent of such failure of such

mitigation, is precluded from recovery herein.

 

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Case 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 23 of 45

FOURTH AFFIRMATIVE DEFENSE
The injuries and damages, if any, referred to in Plaintiff’s Complaint were caused in whole or in
part by the negligence or otherwise actionable conduct of a third party or third parties over which this
answering Defendant had no control.

FIFTH AFFIRMATIVE DEFENSE

 

The damages, if any, claimed by Plaintiff herein were caused by new, independent, intervening
and superseding causes, and not by this answering party’s alleged negligence or other actionable conduct,
the existence of which is specifically denied.

SIXTH AFFIRMATIVE DEFENSE

 

This matter is subject to-mandatory arbitration

SEVENTH AFFIRMATIVE DEFENSE

 

Attorney's fees are only recoverable through contract or by statute and are not recoverable as
damages in a lawsuit for personal injury damages Plaintiffs claim for attorney's fees as alleged in-the
Complaint are not recoverable herein and have been improperly pled in Plaintiff s Complaint Defendant
specifically reserves the right to have Plaintiffs improperly pled claim for attorney’s fees dismissed prior
to trial.

EIGHTH AFFIRMATIVE DEFENSE

 

All or part of the damages being claimed in this matter are barred by the doctrine of accord and

satisfaction

NINTH AFFIRMATIVE DEFENSE

 

Pursuant to N.R.C.P. 1 1, as amended, all possible affirmative defenses may not have been alleged
herein, insofar as sufficient facts were not available after reasonable inquiry upon the filing of
Defendant’s Answer and, therefore, Defendant reserves the right to amend the Answer to allege
additional affirmative defenses if subsequent investigation warrants.

TENTH AFFIRMATIVE DEFENSE

 

The automobile accident alleged in the Complaint was staged on purpose by the Plaintiff and/or

the driver of the vehicle in which Plaintiff was a passenger and was therefore an act of fraud.

 

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Case 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 24 of 45

PRAYER FoR RELIEF

 

WHEREFORE, Defendant, PROGRESSIVE DIRECT INSURANCE COMPANY, prays for
judgment as follows:
l. That Plaintiff take nothing by way of her Complaint on file herein;
2. F or reasonable attorney's fees and costs of suit incurred herein; and,
3. For such other and further relief as the Court may deem just and proper.
DATED this 18th day of December, 2017.
THE HOWARD LAW FIRM

/1,/§26”"78 ‘W. %M
By

JAMES W. HOWARD, ESQ.
Nevada Bar No. 4636

9030 W. Cheyenne Avenue, #210
Las Vegas, Nevada 89129
Attorneys for Defendant

 

CERTIFICATE OF SERVICE
l hereby certify that service of a true and correct copy of ANSWE_R TO COMPLAINT was

made on the 18th day of December7 2017, as indicated below:
___ By first class mail, postage prepaid from Las Vegas, Nevada pursuant to N.R.C.P. 5(b)

addressed as follows below

By facsimile, pursuant to EDCR 7.26 (as amended)

By receipt of copy as indicated below

Via Court authorized electronic service

l’<||

Al Lasso, Esq.

10161Park Run Drive, #105
Las Vegas, NV 89145
facsimile: 702-835~6981
Attorney for Plaintiff

/5/%<1/1@/71, ellen/rm

 

An Employe¢ of THE HOWARD LAW FIRM

 

Case 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 25 of 45

Exhibit C

Las Vegas, Nevada 89145
(702) 625-8777 - Fax: (702) 835-6981

LASSO INJURY LAW

10161 Park Run Drive, Suite 150

 

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Case 2:18-cv-OO456-RFB-\@ECT|Q@Mth §ERE}|§§ 03/13/18 Page 26 of 45

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PET

AL LASSO, ESQ.

Nevada Bar No. 8152

EVAN K. SIMONSEN, ESQ.

Nevada Bar No. 13762

LASSO INJURY LAW, LLC

10161 Park Run Drive, Suite 150

Las Vegas, Nevada 89145

(702) 625-8777 - Telephone

(702) 835-6981 ~ Facsimile

AL@lassoinjurylaw.com

Evan@lassoinjurylaw.com

Attorneys for Plaintijj‘
DISTRICT COURT

CLARK COUNTY, NEVADA

BRENDA MONARR_EZ, and Individual,

Plaintiff, CASE NO.: A-17-764850-C
v. - 1 DEPT NO.: 10
PROGRESSIVE DIRECT INSURANCE P~LAINTIFF’S PETITION FOR

 

COMPANY, an Ohio insurance company; DOES EXEMPTION FROM ARBITRATION
lthrough X; and ROE BUSINESS ENTITIES XI
through )Q(, inclusive,

Defendants

 

 

COMES NOW, Plaintiff, BRENDA MONARREZ, by and through her attorneys of record,
AL LASSO, ESQ. and EVAN K. SIMONSEN, ESQ., of LASSO INJURY LAW, LLC, and
petition for exemption from arbitration
Plaintiff, NIKITA RONOLO, hereby requests that the above-entitled matter be exempted
from arbitration pursuant to Nevada Arbitration Rules 3 and 5, as this case:
l. _X_Presents a significant issue of public policy;
2. _X__Involves an amount in issue in excess of $50,000.00, exclusive of interest
and costs;

3. X Presents unusual circumstances which constitute good cause for

 

removal from the program.

_1_

Case Number: A-17-764850-C

 

 

Case 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 27 of 45

 

 

1 A summary of` the specific facts which supports Plaintiff‘s request for exemption is as

2 follows:

3 Plaintiff seeks exemption on the basis that this case presents an unusual procedural history

4 adequate to show unusual circumstances constituting good cause for removal. Moreover, and

5 perhaps more irnportantly, this is a UIM case, and is therefore an issue of public policy requiring

6 removal from the“Arbitration Program. Finally, Plaintiff believes this case Will likely exceed the

7 $50,000.00 threshold needed to be exempted nom the Court Annexed Arbitration Program.

8 The procedural history of this matter is unusual because the Answer was filed while the
parties were awaiting a ruling on a Motion to Consolidate Claims and Cases. As a result, Plaintiff's
counsel did not file the instant motion within 20 days of the filing of Defendant’s Answer, pursuant

n 11 to Rule 3(A) of the Nevada Arbitration Rules. Had Plaintiff’s Motion failed, then the underlying
§ § § 12 factual claims Would have continued in Justice Court, and the monetary aspect of the instant
§ §§§ 13 Petition would have been moot. Rather than waste valuable Court resources ruling on a Petition
§ § §§ 14 that may or may not have been partially moot, Plaintiff"s counsel decided to wait until after the
§ §§1)§ 15 ‘ Motion to Consolidate Claims was ruled upon. While NAR 3(A) sets the deadline for filing a
§ § § § 16 Petition at 20 days after the filing of an Answer, this is an unusual situation that could have created
b 17 contrary rulings were the Court to grant the Petition and then Deny the Motion'to Consolidate

1 8 Clairns.l
19 Shortly after the ruling on said Motion to Consolidate Claims, and less than one week after

20 the order was entered, Plaintift’s counsel started a two~week trial in another department With the
21 conclusion of the trial, counsel discovered that order was entered, and now respectfully submits
22 the instant petition as a result.2

23 As a matter of public policy, this petition should be granted. “UIM insurance serves an
24 important public purpose to ‘provide maximum and expeditious protections to the innocent victims

25 of financially irresponsible motorists.”’ Given the public policy considerations concerning

 

27 1 This would have created an issue because the instant Petition is, in 'part, premised on the monetary concerns, which
would not have existed if Plaintiff had been denied the Motion to Consolidate Claims.
28 2 Adding the three days for mailing, pursuant to NRCP 6(e), and tolling the 20-day deadline for the Court holiday on

February 19, 2018, President’s day, the deadline to file the instant Petition is February 22, 2018.

 

 

 

 

Case 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 28 of 45

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1 UM/UIM protection, we review attempts to restrict such coverage with a high degree of scrutiny."
2 §e_e_ State Farm Mut. Auto. lns. Co. v. Fitts. 120 Nev. 707. 710; 99 ‘P.3d 1160. 1162 (2004). Thus,
3 to deny a plaintiff the right to a jury trial in an uninsured motorist case would violate Nevada’s
4 public policy. _Sge_ ing (holding that altering the time frame in which a Plaintiff can bring suit is
5 unenforceable and void against public policy); see M State Farm Mut. Auto. Ins. Co. v. Hinkel.
6 87 Nav. 478. 483; 488 P-.-zd 1151. 1154 (i97i) molding maria is against pnbiic poiiéy to deny any
7 insured person within the meaning of the statute from uninsured motorist coverage by provisions
_ 8 in the policy). Here, Brenda carried uninsured/underinsured motorist coverage, for which she paid
9 a premium. Thus, consistent with Nevada’s public policy, Plaintiff respectfully requests that her
10 petition be granted.
__ 11 Further, Plaintiff respectfully submits that she is seeking damages for personal injuries,
§ § § 12 pain and suffering,and~emotio§ldistress in an amount in excess of $50,000.00. Brenda suffered
A§e§ ,.. / . . . .
§ <7"‘)_ § § 13 injuries as a result of the attack, tq,-' include a neck and back spra1n. Her medical specials to date
§ g ~_-j ;/ MWV n n ,....a__. ~_-,~ ____
'c § §§ ~ \ ,a_/ .. ----- ~~”
5 § £: 14 are as follows. \//
91 § §§ 15 _
§ § § § 16 Medical Provider: _ _ l Amo_unt of Specials: .
»-1 § § a-
'~`/ 17 1. Alegis for Summerlin Hospital ' $4,227.00
18 2. Transworld Systems for Shadow Emergency Physicians $773.00
19 3. Nicola Chiropractic " $4,674.21
` 20 Total (To Date) $9,674.21
21 Nevada Arbitration Rule 3 governs matters subject to arbitration, and states in relevant
22 part:
23 Rule 3. Matters subject to arbitration
(A) All civil cases commenced in the district courts that have a probable jury award value
24 not in excess of $50,000 per plaintift`, exclusive of interest and costs, and regardless of
comparative liability, are subject to the program, except class actions, appeals from courts
25 of limited jurisdiction, probate actions, divorce and other domestic relations actions,
actions seeking judicial review of administrative decisions, actions concerning title to real
26 estate, actions for declaratory relief, actions governed by the provisions of NRS 41A.003
to 41A.069, inclusive, actions presenting significant issues of public policy, actions in
27 Which the parties have agreed in writing to submit the controversy to arbitration or other
alternative dispute resolution method prior to the accrual of the cause of action, actions
28 Seeking equitable or extraordinary relief, actions that present unusual circumstances that
_3_

 

 

 

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LASSO INJURY LAW
10161 Park Run Dnvc Suite 150

Las Vegas, Nevada 89145
(702) 625-8777 - Fax: (702) 835-6981

 

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Case 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 29 of 45

constitute good cause for removal from the program, actions in which any of the
incarcerated and actions utilizing mediation pursuant to Subpart C of these mles.

NAR 5 governs exemptions from arbitration, and states in relevant part:

Rule 5. Exemptions from arbitration

the program will not be required to, file a request for exemption if the initial

party believes that a case should not be in the program, that party must tile

removed from the program upon the filing of an untimely request for exemption;
such filing may subject the requesting party to sanctions by the cornrnissioner.4

This case has a probable jury award value greater than $50,000.00. Brenda’s pas

excess of $50,000.00. While Brenda’s medical bills total only $9,674.21, this does not

for removal of this case from the arbitration program,
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3 NAR 3(A).
4 NAR s(A).

 

 

(A) A party claiming an exemption from the program pursuant to Rule 3(A) on grounds
other than the amount in controversy, the presentation of significant issues of public policy,
or the presentation of unusual circumstances that constitute good cause for removal from

specifically designates the category of claimed exemption in the caption. Otherwise, if a

commissioner a request to exempt the case from the program and serve the request on any
party who has appeared in the action. The request for exemption must be filed Within 20
days after the filing of an answer by the first answering defendant, and the party requesting
the exemption must certify that his or her case is included in one of the categories of exempt
cases listed in Rule 3. The requ_est for exemption must also include a summary of facts
Which supports the party’s contentions F or good cause shown, an appropriate case may be

bills to date total $9,674.21. The emotional impact this experience had on Brenda, in addition to

the pain of being that resulted from this crash, will more likely than not result in a jury verdict in

account Brenda’s damages for pain, suffering, and the interruption in`her life. Moreover, the
medical specials do not take into account the mental pain and anguish created when Brenda’s own

insurance company refused to participate in this-matter in good faith. As such good cause exists

parties isj

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Case 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 30 of 45

 

 

1 I hereby certify pursuant to NRCP ll this case to be within the exemption marked above
2 and am aware of the sanctions which may be imposed against any attorney or party who without
3 good cause or justification attempts to remove a case from the arbitration program,
4 DATED this 22“d day of F ebruary, 2018.
5 LASSO INJURY LAW
7 /;…
8 Al Lasso, Esq.
Nevada Bar No. 008152
9 _ Evan K. Simonsen, Esq.
B_T=>¥~t*_»%l Nevada Bar No. 013762
10 10161ParkRunDr.,suire150.
11 ` Las Vegas, Nevada 89145
g Attorneys for Plaintiff
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LASSO INJURY LAW

10161 Park Run Drive, Suite 150

 

Las Vegas, Nevada 89145
(702) 625-8777 - Fax: (702) 835-6981

 

 

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Se 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 31 of 45

CERTIFICATE OF SERVICE
IHEREBY CERTIFY THAT on the 22nd day of February 2018, I caused to be served a
true and correct copy of the foregoing PLAINTIFF’S PETITION FOR EXEMPTION FROM
ARBITRATION on the following person(s) by electronic service pursuant to NRCP 5 and

NEFCR 9:

.l ames W. Howard, Esq.
THE HOWARD LAW FIRM
1835 Village Center Circle
Las Vegas, Nevada 89134
Attorneyfor Defendant

Oaa 722 "

An\Employee of Lass'o Ir`r/jury Law

 

 

Case 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 32 of 45

Exhibit D

,LJADDU 11‘(\] Uli][ LAW

10161 Park Run Drive, Suite 150

Las Vegas, Nevada 89145
702*625-8777 ‘ Fax 702-835-6981

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Case 2:18-cv-OO455-RFB-VCF Document 1 Filed 03713/18 Page 33 of 45

Las Vegas Justice Court

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AL LASSO, ESQ.

Nevada Bar No.:8152

EVAN K. SIMONSEN, ESQ.
Nevada Bar No. 13762

LASSO INJURY LAW, LLC.
1.0161 Park Run Dr., Suite 105
Las Vegas, Nevada 89145
al@lassoiniuiylaw.corn
evan@,lassoinju__rylaw.com

PH; (702) 625»3777/FAX; (702) 835-6931'
Attorneysfor Plaintiff
Il\l THE JUSTICE COURT OF LAS VEGAS TOVVNSHIP

COUNTY OF CLARK, STATE OF NEVADA

BRENDA MONARREZ, an lndividual CASE NO.: __ 17C003916
: Plaintiff, ' DEPT No.:
v Department #: L\/JC 4

PROGRESSIVE DIRECT INSURANCE
COMPANY, an Ohio insurance ecmpany; DOES
I through X; and ROE BUSINESS ENTITIES Xl
through XX, inclusive,

Defendants.

 

 

 

COMPLAINT
Plaintiff complains and alleges as follows:
I..
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Clark County, Nevada.

At all times relevant hereto, Plaintiff BRENDA MONARREZ, is and was a resident of the

Page l of 6

 

hAZ§b'U .U\IJUKY LAW

10161 Park Run Drive, Suite 150

Las Vegas, Nevada 89145
702-625»8777 ~ Fax 702~835-6981

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Case 2zie-cv-oo45`e-RFB-\/CF Documem 1 Filed 03{'1'3/13 Page 34 of 45

ll.
|A Upon information and belief, at all times relevant herein, Plaintiff believes that Defendant,
PROGRESSIVE DIRECT INSURANCE COMPANY (hereinafter “Progressive” or “Defendant”),

was and is an Ohio insurance company doing business and providing insurance in the State of

Nevada, County of Clark.

. d / /D III.
@ 'i`hat the true names or capacities, whether coiporate, associate, individual or otherwise, of
Defendants, DOES I through X, inclusive, are unknown to Plaintiff who, therefore, sues said
Defendants by such fictitious naines. Plaintiff is informed and believes, and thereon alleges, that
each of the Defendants designated herein as a DOE is legally responsible in some manner for the
events and happenings herein referred to and proximately caused injury and damages thereby to
Plaintiff as hereinafter alleged Plaintiff will seek leave of the Court to amend this Complaint to

insert the true names and capacities of DOES I through X when the same have been ascertained ‘

and to join such Defendants in this action.
w O iv.4
'l` hat the true names or capacities of Defendants, ROE BUSIN:.ESS ENTITIES Xl through __ l

XX, inclusive, are unknown to Plaintiff who, therefore, sues said Defendants by such fictitious
names. Defendants designated herein as ROE BUSINESS ENTITIES XI through XX, and each of
them, are predecessors-in-interest, successors-in-interest, and/or agencies otherwise in a joint
venture with, and/or serving as an alter ego of, any and/or all Defendants named herein; and/ or are
entities responsible for the supervision of the individually named Defendants at the time of the
events and circumstances alleged herein; and/cr are entities employed by and/or otherwise
directing the individual Defendants in the scope and course of their responsibilities at the time of

the events and circumstances alleged herein; and/or are entities otherwise contributing in any Way

Page 2 of 6

 

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10161Park Run Drive, Suite 150

Las Vegas, Nevada 89145
702-625-8777 ‘ Fax 702-835-6981

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Case 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 35 of 45

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to the acts complained of and the damages alleged to have been suffered by the Plaintiff herein
Plaintiff is informed and, on that basis believes and thereon alleges, that each of the Defendants
designated as a ROE BUSINESS ENTITY is in some manner negligently, vicariously, and/or
statutorily responsible for the events and happenings referred to and caused damages to Plaintiff as
herein alleged. Plaintiff will seek leave of the Court to amend this Complaint to insert the true
names of such Defendants when the same have been ascertained

V.
n or about March 15, 20'16, Brenda was involved in a vehicle collision At the time of the
collision, Brenda was completely stopped behind a red car in the travel lane of two north of
Mountain Vista, due to a white pickup truck making a right turn into a private drive from the
northbound travel lane of two on Mountain Vista. At that same date and time, one, .Tessica Fein,
who was driving a 2004 Hyundai Elantra, was northbound on Mountain Vista in the travel lane of
two directly behind Brenda, did not decrease speed as she approached the stopped vehicles and
collided With the rear of Brenda’s vehicle Upon a field investigation, Ms. Fein left about 55 foot
of visible pre-impact skid. As a result of the collision, Brenda suffered moderate property damage
As a resultof the collision, Brenda suffered personal injuries, with medical bills totaling over
$9,700.00. Jessica Fein was cited for following too close.

VI.

l At the time of the March 15, 2016 collision, Brenda maintained a policy of insurance with

Defendarrt, PROGR_ESSIVE DIRECT lNSl.IRANCE COMPANY, which provided underinsured

motorist coverage in the amount,_cg&ne linan Thousaud Dollars $l$,OO0.00)"per person.

Plaintiff paid a premium for this underinsured motorist coverage

 

Page 3 of 6

 

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10161 Park R_un Drive,_Suite 150

Las Vegas, Nevada 89145
702-625-8777 ' Fa.\' 702~835-6981

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Case 2:18-cv-OO45'6-RFB-VCF Document 1 Filed 03/13/18 Page 36 of 45

Vll.

@the time of the March 15, 2016 collision, Ms. Fein maintained an insurance policy, with

limits ofFifteen Thousand Dollars ($15,000.00). lessica Fein, through her ins ance company,

‘ 13
tendered the policy limits of Fit`teen Thousand Dollars ($15,000.00) to Brenda &:\ause Brenda’s
total damages exceeded the policy limits of Fein’s liability insurance, he made an underinsured
motorist claim under her policy with her insurer, the Defendant, Progressive. Brenda made a claim

fdr the entire Fifteen Thousand Dollar ($15,000.00) policy.

VIII. '
Eol- abd%t February 13, 2017, the Defenda'i;tz@ri'g>tullyg/Ee£ed Bréii‘da Five tuidred
_/' ._»~»

Doll-ars ($500.00) to settle her claim for benefits under the underinsured motorist Wle .

Progressive indicated that a review of our client’s demand was made and an offer of$500.00 was

made to cover special damages, and general damages;l m
IX.

l:> Progressive breached its contract with Brenda by choosing not to pay the benefits under

Brenda’s underinsured motorist policy.

FIRST CLAIM FOR RELIEF

0

z \7\ (Breach of Contract)
12 \ 1_

The Plaintiff repeats and realleges the allegations as contained in the preceding
paragraphs herein, and incorporates the same herein by reference
/A' 2. At all times relevant herein, Plaintiff and Defendant were parties to a valid and
enforceable contract whereby Plaintiff paid premiums in exchange for benefits under an

underinsured motorist insurance policy.

\(> 3. Defendant has refused, and continues to refuse to pay sums legally due and owing

to Plaintiff pursuant to the tenns of the subject insurance policy.

Page 4 of 6

 

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10161 Park Run Drive, Suite 150

Las Vegas, Nevada_ 89145
702~625-8777 ~ _Fa.\: 702-835-69§1

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Case 2:18-cv-OO45'6`-RFB-VCF Document 1 Filed 03/13/18 Page 37 of 45

\[> 4. The Defendant’s choice to not pay the sums legally due and owing to Plaintiff

pursuant to the tenns of the subject insurance policy is a material breach of the said insurance

policy.

l(> 5. As a direct and proximate result of the breach of contract, Plaintiff has suffered
general damages, in an amount in excess of Ten Thousand Dollars (310,000.00), and special or
consequential damages, which would be foreseeable to a reasonable person in the insurer’S

position, in an amount to be proven at the time of tri al, together with prejudgment interest at the

rate allowed bylaw ~

6. lt has been necessary for Plaintiff to retain the services of attorneys to pursue this

claim and Plaintiff is entitled to recover reasonable attorneys’ fees therefor.

\ *‘@

SECOND CLAIM FOR RELIEF_

§ g (Special I)amages)
il 3

Plaintiff repeats and realleges each and every allegation set forth in the preceding

paragraphs3 as if fully set forth herein.

lD 8. Plaintiff has and will have to incur attorney fees to enforce her rights as a result of
the conduct of the Defendant indicated in the First Clairn for Relief. 0
l~{> 9. The attorneys’ fees that Plaintiff has and will incur are foreseeable damages arising
from the breach of Agrcements set forth in the Pirst 'Clairn for Relief.

152 0. The attorneys’ fees that Plaintiff has and will incur arc the natural and proximate

consequence of the conduct referred to above and in the First Clairn for Relief.
THIRD CLAIM FOR RELIEF
'\ ll (Declaratory Relief)
n ‘<\ l --
§§ ll. Plaintiff repeats and realleges each and every allegation set forth in the preceding

paragraphs, as if fully set forth herein

Page 5 of 6

 

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Las Vegas, Nevada 89145
702-625-8777 - Fax 702-835-6981

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Case 2:18-cv-OO456"-RFB-VCF Document 1 Filed 03/13/18 Page 38 of 45

0 12. An actual controversy has arisen amongst the parties with respect to the allegations
set forth above.

9 13. Plaintiff seeks declaratory relief from the Court with respect to the rights and
obligations of the parties, to the extent said rights and obligations are not idly governed by the
claims for relief set forth above.

WHEREFORE, Plaintiff, BRENDA MONARREZ, expressly reserving her right to amend
her Complaint at the time oftrial, to include all items of damage not yet ascertained, demands
jt£lgment against.Dcfendants, PROGRESSIVE DIRECT INSURANCE COMPANY; DOES l

through X; and ROE BUSINESS ENTITIES XI through XX, inclusive and each of the defendants

as follows:
l. For general damages and special damages in an amount not to exceed $15,000.00;
2. Special Damages according to proof;
3. For reasonable attorney’s fee and costs of suit; and
4. For such other relief as the Court deems just and proper.

».Z)'
DATED this 2 y day ofPebruary, 2017,

LASSO INJURY LAW, LLC.

M"_“-'/
Al Lasso, Esq.
Nevada Bar No. 8152
Evan K. Simonsen, Esq.
Nevada Bar No. 13762
lOlGl Park Run Drive, Ste. 150
Las Vegas, Nevada 89145

Attorneys for the Plaintijf

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Page 6 of 6 l

 

  

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Case 2:18-cv-OO456-RFB-VCF Document 1 Filed 03//13/18 Page 39 of 45

 

  

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1. Article Addressed to:
Progressive Insurance

ATTN: Clairns

400 North Stephanie Street, 4"‘ Floor
Henderson, NV 89014

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Case 2:18-cv-OO4'56-RFB-VCF Document 1 Filed 031/13/18 Page 40 of 45

AFFT

Lasso injury Law, LLC

Ai Lasso, Esq.

10161 Park Run Dr., Ste. 105
Las Vegas , N\/ 39145

State Bar No.: 8152
Attorney(s) for: Plaintiff(s)

Las Vegas Juslice Court
Electronica|ly Filed
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Joe Bonaventure
CLERK OF THE COURT

JUST|CE COURT, LAS VEGAS TOWNSH|P
CLARK COUNTY, NEVADA

 

Case No.: i76003916
Dept. No.:.LVJC 4
Brenda iVlonarrez . Date:
V$ PIa/'ntiff(s) Time:
Pro ressive Direct insurance Co_mpan an Ohio insurance co_mpany;
DO S i through X; and ROE Business ntities Xi through XX, inclusive
Defendant(s)
AFFIDAV!'¥ OF SERV|CE

 

 

 

NOTAR‘{ PUBL¥C

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County or Clark DA

_ _ LISA ANNE WHARTON -
- j Ap_p: No 1€-2934-‘»
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State of Nevada, County of Clark

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an day Of /llilarch 2017

l. Joe Ricondc, being duly sworn deposes and says: That at all times herein affiant was and is a citizen of the
United States, over 18 years of age, licensed to serve civil process in the State of Nevada under license #604, and
not a party to or interested in the proceeding in which this afndavit is made The affiant received 1 scpy(ies) of the:
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agent lawfully designated by statute to accept service of process

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Affiar}t- Joe Ricondo # R-053662

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Case 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 41 of 45

EXhibit E

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Case 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 42 of 45

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NOEJ M’£,“““ '."'

JAMES W. HOWARD, ESQ.
Nevada Bar No. 4636

THE HOWARD LAW FIRM
9030 W. Cheyenne Avenuc, #210
Las Vegas, Nevada 89129

Tel: 702-293-4600

Fax: 702-993-4009

Attorneys for Defendant

jhoward@howardlawlv.com

DISTRICT COURT

CLARK COUNTY, NEVADA
BRENDA MONARREZ, an Individual, Case No. A-17-764850-C
Dept. No. X
Plaintiff,
vs. NOTICE OF ENTRY OF ORDER

 

PROGRESSIVE DIRECT INSURANCE

COMPANY, an Ohio insurance company;
DOES l through X; and ROE BUSINESS
ENTITIES XI through XX, inclusive,

 

Defendants

 

PLEASE TAKE NOTICE that an Order Was entered by the Court in the above-captioned matter
on the 24th day of January, 2018, a copy of which is attached hereto.
DATED this 52 day of January, 2018.
THE HOWARD LAW FIRM

/t/ymiir. reward

JAMES W. HOWARD, ESQ.
Nevada Bar No. 463 6

9030 W. Cheyenne Avenue, #210
Las Vegas, Nevada 89129
Attorneys for Defendant

 

 

 

Case Number: A-17-764850-C

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Case 2:18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 43 of 45

CERTIFICATE OF SERVICE

I hereby certify that service of a true and correct copy of NOTICE OF ENTRY OF ORDER
was made on the §C> day of January, 2018, as indicated below:

By first class mail, postage prepaid from Las Vegas, Nevada pursuant to N.R.C.P. 5(b)
addressed as follows below

_ By facsimile, pursuant to EDCR 7.26 (as amended)

_ By receipt of copy as indicated below

L Via Court authorized electronic service

Al Lasso, Esq.

10161 Park Run Drive, #105
Las Vegas, NV 89145
facsimile.' 702-835-6981
Attorney for Plaintiff

/1/ ram alma
An Ernployec of THE HOWARD LAW FIRM

 

 

 

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JAMES W. HOWARD, ESQ.
Nevada Bar No. 4 '3
THE HOWARD LA,l FIRM
9030 W. Cheyenne Avenue, #21'0
Las Vegas, Nevada §9129
Tel: 702~293~4600 .
Fa<.» 702~993_4009 '
Attomeys for Defendant
jhoward@howardlawlv.com

l ` ` DISTRICT COURT
CLARK COUNTY, NEVADA

l

BRENDA MONAI[{REZ, an Individual,

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matters

 

 

Dept. No.

VS.

coMPANY an citro insurance compauy;

 

 

 

 

 

DOES 1 weigh 1; land ROE BUSINESS
NHT]ES XI thr§,tilgh XX, inclusive,
` Defendants

 

~' l This matteri ewing come on for hearing before the Honorable Court on the 21st day ot`December,

 

` 2017, with Al Lasso Esq., having appeared on behalf of Plaintiff, and James W. Howard, Esq., having

appeared on behalf of the Defendants, and the Court having considered papers and pleadings one-tile

herein and the oral a |»'gument of the counsel, it is

HEREBY O]§iDERED that Plaintift’s Motion to Consolidate Claims is Granted.

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Case Number: A-17~764850-C

case No. 'A-17-764850~c
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Case 2'18-cv-OO456-RFB-VCF Document 1 Filed 03/13/18 Page 45 0

 

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lHEREBY ORl)ERED the issues of Whether there'Was a breach of contract and

allegations of bad faith Will be bifurcated for trial purposes .

DATED fbi s

Submitted b}f;_______

By:
J ames W. Howard,
Nevada Bar No. 46 3
THE HOW
9030 W. Cheyenne
Las Vegas, NV 891
Attomey for Defencl

Approved as to four

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Avenue, #210
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Al Lasso, Esq.
Nevada Bar No. 815
10161Park Run Dr.
Las Vegas, NV 8914
Attorney for Plaintif

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